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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                       X

In re:
                                                            Chapter 7
de GRISOGONO, U.S.A., INC.
dba de Grisogono, USA, Inc.,                                Case No.: 20-10389 (DSJ)


                                      Debtor.
                                                      -x



                          NOTICE TO CREDITORS AND OTHER PARTIES
                    IN INTEREST OF TRUSTEE’S SALE OF TWO WATCHES


       PLEASE TAKE NOTICE that on February 10, 2020 (the "Filing Date"), de Grisogono,
U.S.A., Inc. dba de Grisogono, USA, Inc. (the “Debtor”) filed a voluntary petition under Chapter
7 of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
New York, Manhattan Division, located at One Bowling Green, New York, New York 10004
(the “Court”).


      PLEASE TAKE FURTHER NOTICE that the Debtor’s case is currently pending before
the Honorable Douglas S. Jones, United States Bankruptcy Judge for the Southern District of
New York.


        PLEASE TAKE FURTHER NOTICE that Deborah J. Piazza (the “Trustee”), the Chapter
7 Trustee for the Debtor’s bankruptcy estate, intends, on August 3, 2021, to sell the Debtor
estate’s interest in the following two (2) watches (collectively, the “Watches”) pursuant to
Sections 363(b) and (f) of the Bankruptcy Code, Rule 6004 of the Federal Rules of Bankruptcy
Procedure and Local Bankruptcy Rule 6004- 1(a), in a private sale to Surya Capital LLC for
$2,500.00 cash, free and clear of any liens, claims and encumbrances:




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              •    GRANDE N05 Red Gold/Brown Dial - Automatic movement with large date at
                   6 o’clock. Polished 18k rose gold 5N case, Crown with dG crest, sapphire crystal
                   back and lateral window. Brown guilloche dial with large date aperture, pink 3
                   and 9 o’clock indexes with superluminova, pink small indexes. Pink hands with
                   superluminova.       dG   18k rose gold   5N folding   clasp.   Water resistant to
                   3 ATM. Stone on movement. 22 jewels. This is a repaired watch with no straps.


              •    UNO DF N25/A - Watch in matte blackened stainless steel set with 14 Paraiba
                   tourmalines of .90 carat. Automatic movement, dual time and date, black
                   lacquered dial, turquoise blue Arabic numerals, turquoise blue dauphine style
                   hands, sapphire glass front and case back, crown set with a black diamond with a
                   dG blackened stainless steel butterfly buckle. Water resistant to 3ATM. Stone on
                   movement. 21 jewels. This is a repaired watch with no straps.




         PLEASE TAKE FURTHER NOTICE that objections to the Trustee’s sale of the
Watches, if any, shall be set forth in a writing describing the basis therefor, conform to the
Federal Rules of Bankruptcy Procedure and the Local Rules of the United States Bankruptcy
Court for the Southern District of New York, and shall be (i) filed with the United States
Bankruptcy Court for the Southern District of New York (a) in accordance with General Order
M-399, electronically, by registered users of the Bankruptcy Court’s case filing system, or (b) in
accordance with Local Bankruptcy Rules 5005-1 and 9004-1, submitted to the Clerk of the
United Bankruptcy Court for the Southern District of New York; (ii) in accordance with Local
Bankruptcy Rule 9070-1, submitted in hard-copy form directly to the chambers of the Honorable
David S. Jones, United States Bankruptcy Judge, at the Bankruptcy Court; and (iii) served upon:
(a) Tarter Krinsky & Drogin LLP, counsel for Deborah J. Piazza, as Chapter 7 Trustee, 1350
Broadway, 11th Floor, New York, New York 10018 (Attn: Michael Brownstein, Esq.); and (b)
the Office of the United States Trustee, 201 Varick Street, New York, New York 10014, so that
same is filed and received no later than August 2, 2021 at 5:00 p.m.


         PLEASE TAKE FURTHER NOTICE that in the event any objections to the Trustee’s
intended sale of the Watches are timely filed with the Court and served upon the Trustee, there
will be a hearing scheduled and held before the Honorable David S. Jones, United States
Bankruptcy Judge, to consider any such objections, notice of which hearing will be given by the
Trustee to all known creditors and parties in interest. If no objections are filed, the sale will go
forward on August 3, 2021, no hearing will be held, and the Trustee will deliver to Surya Capital
LLC the Watches, together with an executed Bill of Sale regarding same in the form annexed
hereto as Exhibit 1.




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Dated: New York, New York
       July 23, 2021

                                            Tarter Krinsky & Drogin LLP
                                            Counsel to Deborah J. Piazza
                                            as Chapter 7 Trustee



                                            Bv:/s/ Robert A. Wolf
                                                 Robert A. Wolf, Esq
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                                                 New York, New York 10018
                                                 (212)216-8000
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                                                     EXHIBIT 1




                                                BILL OF SALE

        THIS BILL OF SALE is made and executed as of the               day of August, 2021 from
 Deborah J. Piazza, solely in her capacity as Chapter 7 Trustee of de Grisogono, U.S.A., Inc. dba
 de Grisogono USA, Inc., having an address at c/o Tarter Krinsky & Drogin, LLP, 1350
 Broadway, 1 1th Floor, New York, NY 10018 (“Seller”), to Surya Capital LLC, having an address
 at 608 Fifth Avenue, Suite 901 , New York, New York 1 0020              (“Purchaser”).

        FOR AND IN CONSIDERATION of the sum of Two Thousand Five Hundred Dollars
 ($2,500.00) and other good and valuable consideration, the receipt and legal sufficiency of which
 are hereby acknowledged, Seller does hereby bargain, sell, convey, deliver, assign, transfer, set
 over and grant to Purchaser, and to its successors and assigns, all right, title and interest of Seller
 in the following two watches (the “Watches”):

               •    GRANDE N05 Red Gold/Brown Dial - Automatic movement with large date at
                    6 o’clock. Polished 18k rose gold 5N case, Crown with dG crest, sapphire crystal
                    back and lateral window. Brown guilloche dial with large date aperture, pink 3
                    and 9 o’clock indexes with superluminova, pink small indexes. Pink hands with
                    superluminova.        dG   18k   rose gold   5N   folding   clasp.   Water   resistant to
                    3 ATM. Stone on movement. 22 jewels. This is a repaired watch with no straps.


                    UNO DF N25/A - Watch in matte blackened stainless steel set with 14 Paraiba
                    tourmalines of .90 carat. Automatic movement, dual time and date, black
                    lacquered dial, turquoise blue Arabic numerals, turquoise blue dauphine style
                    hands, sapphire glass front and case back, crown set with a black diamond with a
                    dG blackened stainless steel butterfly buckle. Water resistant to 3ATM. Stone on
                    movement. 21 jewels. This is a repaired watch with no straps.



          Title to the Watches shall pass to Purchaser upon delivery of this Bill of Sale free and
 clear of all claims, liens or encumbrances of any kind. Any sales tax payable in respect of the
 Watches shall be the sole responsibility of Purchaser.

          Seller makes no warranties or representations whatsoever regarding the Watches.                The
 Watches are being transferred “AS IS” and “WHERE IS” and this Bill of Sale is made without
 recourse to Seller and without recourse to the bankruptcy estate of de Grisogono U.S.A., Inc. dba
 de Grisogono USA, Inc.

          This Bill of Sale shall be binding upon and inure to the benefit of the parties hereto and
 their respective successors and assigns.




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          IN WITNESS WHEREOF, Seller has executed this Bill of Sale as of the day and year
 first written above.




                                                   By:/s/ Deborah J. Piazza
                                                     Deborah J. Piazza, solely in her capacity as
                                                     Chapter 7 Trustee of the Estate of de Grisogono
                                                          U.S.A., Inc. dba de Grisogono USA, Inc.




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